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BAN KFlUPTCY COURT

OAKLAND, CALlFORN|A
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

In re: Case No.218-4046O

JUDGE CHARLES NOVACK
CARA PIETRINA CORDONI

Debtor /

CREDITOR MATRIX COVER SHEET
AMENDED FROM THE ORIGINAL FILED FEB. 23. 2018

l declare that the attached Creditor Mailing Matrix, consisting of _3_ sheets, contains the
correct, complete and current names and addresses of all priority, secured and unsecured creditors
listed in debtor=s filing and that this matrix conforms with the Clerk=s promulgated requirements

DATED :March 28, 2018

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81 gmtu re of Debtor=S Attorney or Pro Per Debtor

Case # : 18-40460-CNAM

Debtor.: CARA PIETRINA CORDONI
Trustee: MARTHA BRONITSKY
Chapter: AM

iii;a_-:_April 02, 2018 14=13:25
Deputy : DS

Receipt: 40101889

Amount : $31.00

RELIEF ORDERED

Clerk, U. S. Bankruptcy Court
Northern District Of California

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OR|G|NAL MATR|X FlLED FEBRUARY 23, 2018 CASE # 18-40460 JUDGE CHARLES NOVACK
BANKRUPTCY COURT NORTHERN CAL|FORN|A
DEBTOR; CARA P. CORDON| CHAPTER 13

AMENDED:

MATR|X LlST ATI'ACHED:

1. 1, AFF|N|A DEFAULT SERV|CE LLC
301 E. OCEAN BLVD#1720
LONG BEACH, CA 90802

2. BANK OF A|\/|ER|CA
PO BOX 98223
EL PASO, TX 79998-2235

3. BANKOF NEW YORK I\/|ELLON
C/O BANK OF A|\/lER|CA. N.A.
P. O. BOX 5170
S|I\/|| VALLEY CA 93062

4. BARCLAYS BANK DELEWARE
125 SOUTH WEST STREET
W|L|V||NGTON, DE 19801

5. BAYV|EW LOAN SERV|C|NG LLC
4425 PONCE DE LEON BLVD 5TH FLOOR
CORAL GABLES, FL 33146

6. CAP|TAL ONE BANK USA N.A.
P,O, BOX 30281
SALT LAKE C|TY, UT 84130

7. CHASE AUTO F|NANCE
P.O. BOX 901003
FORT WORTH, TX 76101-2003

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10.

11.

12.

13.

14.

15.

16.

D|S COVER F|NANC|AL SERV|CES LLC
P.O. BOX 15316
W|L|V||NGTON, DE 19850-5316

JP l\/|ORGAN CHASE BANK N.A.
P.O.BOX 183166
COLUI\/|BUS, OH 43218-3166

.|P I\/|ORGAN CHASE BANK, N.A.
700 KANSAS LANE IV|
l\/|ONROE, LA 71203

PENNYI\/|AC HOLD|NGS, |NCC/O ALDR|DGE P|TE, LLP
4375 JUTLAND DR|VE, SU|TE 200

P. O.BOX 17934

SAN D|EGO, CA 92117

QUAL|TY LOAN SERV|CE |NC.
411|VY STREET
SAN D|EGO, CA 92101

SELECT PORTFOL|O SERV|C|NG |NC
P.O.BOX 65250
SALT LAKE C|TY, UT 84165-0250

SPEC|AL|ZED LOAN SERV|C|NG LLC
P.O.BOX 630147
L|`ITLETON, CO 80163

LES Z|EVE, LAW OFF|CES
30 CORPORATE PARK STE 450
|RV|NE, CA 92606

STEVE ROBERT l\/|ASON
2518 ENC|NAL AVENUE

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ALAI\/lEDA, CA 94501

17. P|NE C|TY OUTREACH TRUST
422 E. CASTRO VALLEY BLVD STE 220
SAN LEANDRO, CA 94578

19. US BANK NA, NA TRUSTEE SOR THE BENEF|C|AR|ES OF
WA|V|U |\/lORTGAGE PASSTHROUGH CERT|F|CATE SER|ES 2006-AR9 TRUST
C/O R|CHARD K DAV|S (CEO OR GEN. AGENT)
425 WALNUT STREET
C|NC|NNAT|, OH 45202

20. WASH|NGTON l\/|UTUAL BANK FA
C/O AGENT OF SERV|CE
2273 GREEN VALLEY PARKWAY STE 14
HENDERSON, NV 89014

21. WELLS FARGO CARD SERV|CES
A`|'|'N CRED|T BUREAU D|SPUTE RESOLUT|ON
P.O.BOX 14517
DES I\/|O|NES, |A 50306

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